Case 1:19-cv-01986-MN Document 16 Filed 01/16/20 Page 1 of 4 PageID #: 189




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

ARBOR GLOBAL STRATEGIES LLC,            )
a Delaware Limited Liability Company,   )
                                        )
                    Plaintiff,          )
      v.                                )   C.A. No. 19-1986-MN
                                        )
XILINX, INC., a Delaware Corporation,   )
                                        )
                    Defendant.          )




DECLARATION OF KRISTOPHER KASTENS IN SUPPORT OF ARBOR GLOBAL
 STRATEGIES LLC’S OPPOSITION TO XILINX, INC.’S MOTION TO DISMISS
              UNDER FED. R. CIV. P. 12(b)(1) AND 12(b)(6)




                                        Philip A. Rovner (#3215)
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  Case 1:19-cv-01986-MN Document 16 Filed 01/16/20 Page 2 of 4 PageID #: 190




I, Kristopher Kastens, hereby declare as follows:

         1.    I am an attorney with the law firm Kramer Levin Naftalis & Frankel LLP, counsel

of record for Plaintiff Arbor Global Strategies LLC (“Arbor”). I have personal knowledge of the

facts set forth in this declaration and can testify competently to those facts. I submit this

declaration in support of Arbor Global Strategies LLC’s Opposition to Xilinx, Inc.’s Motion to

Dismiss Under Fed. R. Civ. P. 12(b)(1) and 12(b)(6).

         2.    Attached hereto as Exhibit 1 is a true and correct copy of the settlement

agreement between Arbor Company, LLLP and James Guzy, Marcia Guzy, Mark Guzy, Mary

Ann Guzy, and Caroline Guzy Engle and Arbor Financial Corporation, dated February 12, 2009,

filed as Exhibit A to the Notice of Entry of Judgment Approving Settlement Agreement in Guzy

v. Guzy, et al., No. 05-05031-gwz, Dkt. 688 (Bankr. D. Nev. Feb. 26, 2009).

         3.    Attached hereto as Exhibit 2 is a true and correct copy of the search results for

California UCC Record financial statement filed by Mark Guzy and Mary Ann Guzy on March

12, 2009.

         4.    Attached hereto as Exhibit 3 is a true and correct copy of the search results for

Nevada UCC Record financial statement filed by Mark Guzy and Mary Ann Guzy on March 12,

2009.

         5.    Attached hereto as Exhibit 4 is a true and correct copy of the Full Satisfaction of

Judgment filed in Guzy v. Guzy, et al., No. 05-05031-gwz, Dkt. 696 (Bankr. D. Nev. Feb. 27,

2012).

         6.    Attached hereto as Exhibit 5 is a true and correct copy of the Order Granting

Defendants’ Emergency Motion for Relief From Judgment Under NRCP 60(b)(5) and to Compel

Entry of Satisfaction of Judgment Under NRS 17.200, filed in Guzy v. Arbor Company, et al.,




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 Case 1:19-cv-01986-MN Document 16 Filed 01/16/20 Page 3 of 4 PageID #: 191




No. 05-cv-0322 in the Ninth Judicial District Court of the State of Nevada, Douglas County, on

August 1, 2019.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of the Recordable

Assignment of Patent Rights between Arbor Company LLLP and Arbor Global Strategies, LLC

dated September 26, 2019, which was recorded before the U.S. Patent and Trademark Office on

October 7, 2019.

       8.      Attached hereto as Exhibit 7 is a true and correct copy of a Xilinx webpage

entitled “3D ICs,” available at https://www.xilinx.com/products/silicon-devices/3dic.html, last

accessed on January 15, 2020.

       9.      Attached hereto as Exhibit 8 is a true and correct copy of a white paper entitled

“Xilinx Stacked Silicon Interconnect Technology Delivers Breakthrough FPGA Capacity,

Bandwidth, and Power Efficiency” dated December 11, 2012.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on January 16, 2020, in New York, NY.


                                             /s/ Kristopher Kastens
                                                Kristopher Kastens




                                                2
 Case 1:19-cv-01986-MN Document 16 Filed 01/16/20 Page 4 of 4 PageID #: 192




                                CERTIFICATE OF SERVICE

       I, Philip A. Rovner, hereby certify that, on January 16, 2020, the within document was

served on the following counsel as indicated:

                                         BY E-MAIL

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 Attorneys for Defendant, Xilinx Inc.




                                          By:   /s/ Philip A. Rovner
                                                 Philip A. Rovner




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